























In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-05-00053-CV
______________________________


Â&nbsp;
Â&nbsp;
IN THE INTEREST OF
R.M., A CHILD
Â&nbsp;
Â&nbsp;


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

On Appeal from the 6th Judicial District Court
Fannin County, Texas
Trial Court No. 36562


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Opinion by Justice Ross


O P I N I O N

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Ernest McCarty appeals from the termination of his parental rights to R.M., a child
now seven years old.  McCarty contends the trial court erred in terminating his parental
rights because the evidence was legally insufficient to justify termination and erred in
finding that termination was in the best interest of the child.  We overrule these contentions
and affirm the judgment.
Factual Background
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;R.M.'s great-aunt and uncle, Donna and Mike Mosley, filed the underlying petition
to terminate McCarty's parental rights and to adopt R.M.  R.M. was taken to the Mosleys
by a relative when the child was six to eight weeks old.  She has lived in their home
continuously since that time.  They have been the sole providers for her care and daily
needs.  The Mosleys obtained joint conservatorship of R.M. when she was two years old. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;McCarty saw R.M. once or twice a month when she was an infant and has seen her
during more than one Christmas holiday season.  However, he has seen her only
sporadically in the last few years.  McCarty never sent any money or other support to the
Mosleys, and they did not expect any.  However, McCarty testified he has given clothes
and gifts to R.M. 
Standard of Review
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The standard of review in parental rights' termination proceedings is clear and
convincing evidence.  Tex. Fam. Code Ann. Â§ 161.001 (Vernon Supp. 2005); In re J.F.C.,
96 S.W.3d 256, 263 (Tex. 2002).  The evidence is clear and convincing when the proof is
such that it produces in the mind of the trier of fact a firm belief or conviction of the truth
of the allegations sought to be established by the state.  In re C.H., 89 S.W.3d 17, 25â26
(Tex. 2002). 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In reviewing the legal sufficiency of the evidence, we view all the evidence in the
light most favorable to the finding to determine whether a reasonable trier of fact could
have formed a firm belief or conviction that its finding was true.  J.F.C., 96 S.W.3d at 266;
C.H., 89 S.W.3d at 25.  Looking at the evidence in the light most favorable to the judgment
means we must assume the fact-finder resolved disputed facts in favor of its finding if a
reasonable fact-finder could do so.  A corollary to this requirement is that a court should
disregard all evidence that a reasonable fact-finder could have disbelieved or found to have
been incredible.  J.F.C., 96 S.W.3d at 266.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The fundamental interest in parental rights' termination cases is to protect the best
interest of the child.  Tex. Fam. Code Ann. Â§ 153.002 (Vernon 2002); In re B.L.D., 113
S.W.3d 340, 353â54 (Tex. 2003).  A court may order involuntary termination only if the
court finds that:  (1) a parent has committed a predicate act or omission harmful to the
child, and (2) termination is in the best interest of the child.  Tex. Fam. Code Ann.
Â§Â&nbsp;161.001; B.L.D., 113 S.W.3d at 353â54.  This interest is aligned with another of the
child's interestsâan interest in a final decision on termination so that adoption to a stable
home or return to the parents is not unduly prolonged.  In re M.S., 115 S.W.3d 534,
547â49 (Tex. 2003); In re R.I.S., 120 S.W.3d 502, 503 (Tex. App.âTexarkana 2003, no
pet.).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The Family Code provides several situations in which parental rights may be
involuntarily terminated.  See Tex. Fam. Code Ann. Â§ 161.001.  Reviewing the trial court's
findings of fact and conclusions of law, it appears the trial court could have ordered
termination based on one of four situations.  
Section 161.001(1)(A)
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;This section allows involuntary termination where the parent has voluntarily left the
child alone or in the possession of another not the parent and expressed an intent not to
return.  Tex. Fam. Code Ann. Â§ 161.001(1)(A).  The record does not support termination
under this provision.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Undisputed evidence was presented at trial McCarty had visited R.M. and had called
on at least one occasion to inquire about R.M.  Further, no evidence was presented
McCarty made an affirmative expression of his intent not to return.  
Section 161.001(1)(B) &amp; (C)
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Section 161.001(1)(B) allows involuntary termination where the parent has
voluntarily left the child alone or in the possession of another not the parent without
expressing an intent to return, without providing for the adequate support of the child, and
remained away for a period of at least three months.  Section 161.001(1)(C) allows
involuntary termination where the parent has voluntarily left the child alone or in the
possession of another without providing adequate support of the child and remained away
for a period of at least six months.  A common element in each provision is that the parent
must have failed to provide adequate support of the child.  We hold that termination cannot
be supported under either of these provisions because the evidence is legally insufficient
to prove McCarty failed to provide adequate support.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The Texas Supreme Court has held that a parent is only required to make
arrangements for adequate support of the child, not personally send support.  Holick v.
Smith, 685 S.W.2d 18, 21 (Tex. 1985).  Holick, unable to properly care for her child, took
the child to the Smiths.  Over the next six months, she never visited and called only once. 
She did not send any form of support to the Smiths and was not expected to do so.  Id.
atÂ&nbsp;19.  The court held that termination was not authorized because Holick was only
required to make arrangements for the support of her child rather than personally support
the child.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;McCarty did not personally deliver R.M. to the Mosleys.  It also appears he did not
initiate the arrangement whereby the Mosleys would care for R.M.  However, McCarty has
been aware of the arrangement at all times and agreed to the arrangement.  He testified
he liked the Mosleys and appreciated what they had done for his child.  In 2000, McCarty
agreed to allow the Mosleys to become joint managing conservators of R.M. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;It should not be significant whether a parent physically delivers their child to
someone who will care for the child.  Rather, the controlling issue should be whether the
parent was aware of, consented to, and participated in the arrangement for the child's
support.  At all relevant times, McCarty has consented to the Mosleys' care of R.M.  By
agreeing to the joint conservatorship, he allowed the Mosleys to better provide for R.M. 
The evidence is undisputed that the Mosleys have done an excellent job of providing for
R.M. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Considering the facts of this case, we hold that the evidence is insufficient to find
that McCarty did not arrange for the adequate support of R.M.  Applying the holding in
Holick, this means the evidence is necessarily insufficient to find that McCarty had not
provided for the adequate support of R.M.  Accordingly, termination cannot be supported
under either Section 161.001(1)(B) or (C).
Section 161.001(1)(F)
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Section 161.001(1)(F) allows involuntary termination where the parent has failed to
support the child in accordance with the parent's ability during a period of one year ending
within six months of the date of the filing of the petition.  Considering only the evidence
supporting the finding, there was legally sufficient evidence to support a finding under
Section 161.001(1)(F).  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;That section requires a showing:  (1) that McCarty failed to support the child in
accordance with his ability


 and (2) that his failure to support occurred during a period of
one year ending within six months of the date of the filing of the petition.  Tex. Fam. Code
Ann. Â§ 161.001(1)(F).  One year means twelve consecutive months, and the ability to pay
support must exist each month during the twelve-month period.  In re Z.W.C., 856 S.W.2d
281, 283 (Tex. App.âFort Worth 1993, no writ); Craddock v. Worley, 601 S.W.2d 445, 446
(Tex. Civ. App.âDallas 1980, no writ); Brokenleg v. Butts, 559 S.W.2d 853, 856 (Tex. Civ.
App.âElÂ&nbsp;Paso 1977, writ ref'd n.r.e.).  The Mosleys filed their original petition DecemberÂ&nbsp;6,
2004, so we must consider any consecutive one-year period that would have begun
between June 6, 2003 and December 6, 2003.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The record shows that, before November 10, 2004, McCarty worked at Kimberly
Clark making $8.00 an hour.  McCarty testified he had worked at various other jobs,
including work as a truck driver for a concrete company.  McCarty also testified that he paid
child support for two other children totaling $400.00 per month and that he was current on
those payments. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;McCarty's testimony that he had worked in the twelve months before NovemberÂ&nbsp;10,
2004, and his ability to keep current with his other child support obligations show he had
a source of income during the eighteen-month period in question.  This evidence, when
combined with the fact McCarty never sent any money or other support to the Mosleys, is
legally sufficient proof McCarty failed to provide for R.M. according to his ability. 
Accordingly, we hold termination was proper under Section 161.001(1)(F).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;In what amounts to a separate attack on the sufficiency of the evidence, McCarty
contends the trial court's ruling was founded on a racial and cultural bias.  There is no
evidence in the record to support this contention.  As discussed above, legally sufficient
evidence exists to support the trial court's decision.  Accordingly, we find this complaint is
without merit.
Best Interest of the Child
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;This portion of our review proceeds from the policy-based presumption that the best
interest of a child is usually served by preserving the parent-child relationship.  In re G.M.,
596 S.W.2d 846, 847 (Tex. 1980); see Wiley v. Spratlan, 543 S.W.2d 349, 352 (Tex.
1976).  In determining the child's best interest, the fact-finder may consider the current and
future physical and emotional needs of the child, the current and future physical and
emotional danger the child may confront with his or her parent, and the parental abilities
of the individual seeking custody.  The case of Holley v. Adams, 544 S.W.2d 367, 371â72
(Tex. 1976), sets out the following list of nonexclusive factors to consider when determining
the best interest of a child:  (1) the desires of the child; (2) the emotional and physical
needs of the child now and in the future; (3) the emotional and physical danger to the child
now and in the future; (4) the parental abilities of the individuals seeking custody; (5) the
programs available to assist these individuals to promote the best interest of the child;
(6)Â&nbsp;the plans for the child by these individuals or by the agency seeking custody; (7) the
stability of the home or proposed placement; (8)Â&nbsp;the acts or omissions of the parent that
may indicate that the existing parent-child relationship is not a proper one; and (9) any
excuse for the acts or omissions of the parent.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(1) The desires of the child.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Although R.M. did not testify at trial, the social study report prepared for the trial
court states that R.M. wants to be adopted by the Mosleys.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(2) The emotional and physical needs of the child now and in the future.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There is no evidence in the record concerning this factor.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(3) The emotional and physical danger to the child now and in the future.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;R.M. has lived with the Mosleys for all but two months of her life.  Certainly, an
emotional strain would be caused if the managing conservatorship was changed to
McCarty and the child was required to leave the home she has known for more than seven
years.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(4) The parental abilities of the individuals seeking custody.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There is extensive evidence in the record the Mosleys are good parents.  They
successfully raised two of their own children, now adults.  McCarty agrees the Mosleys
have done an excellent job of raising R.M.  There is little evidence in the record as to
McCarty's parental abilities.  He also has two other children.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(5) The programs available to assist these individuals to promote the best interest
of the child.  

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;There is no evidence in the record concerning this factor.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(6) The plans for the child by these individuals or by the agency seeking custody. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The Mosleys testified to their desire and ability to continue raising R.M. as they have
done for the past seven years.  At trial, McCarty testified he had no dispute with the
Mosleys' continued custody of R.M.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(7) The stability of the home or proposed placement.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;R.M. has lived with the Mosleys virtually all of her life.  The record shows the
Mosleys had their home built to meet their needs while raising R.M.  The social study
prepared for the trial court found the Mosleys had created a loving and safe environment
for R.M.  The record shows that McCarty was incarcerated at the time of trial and has been
incarcerated previously.  McCarty testified at trial that, when he was released from jail, his
girlfriend had a stable home which R.M. could visit.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(8) The acts or omissions of the parent that may indicate that the existing
parent-child relationship is not a proper one.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;This factor has been fully discussed above, including McCarty's infrequent visits with
R.M. and his failure to support her according to his ability.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;(9) Any excuse for the acts or omissions of the parent.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;McCarty's visits with R.M. were always arranged through her mother.  Apparently,
McCarty had a hard time finding R.M.'s mother as she moved frequently from place to
place.  This made it difficult for him to visit with R.M. on a regular basis.  The only
explanation McCarty offers for not sending support to the Mosleys for the care of R.M. is
that they never asked him to do so.
Conclusion
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;It is undisputed McCarty never provided any funds for the support of R.M.  It is also
undisputed he had some source of income with which to do so.  Further, the evidence
clearly shows that his failure to provide for R.M. according to his ability occurred over a
period of more than a year ending within six months of the date of the filing of the petition.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Under these facts, we determine that there is clear and convincing evidence to
support the termination, and we also conclude that termination was in the child's best
interest.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We affirm the judgment.
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Donald R. Ross
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Justice

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;November 30, 2005
Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;December 6, 2005



fy:inter-ideograph;
mso-pagination:widow-orphan;tab-stops:center 3.25in'&gt;                             In
The

                       &nbsp; Court
of Appeals

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Appellate District of Texas at Texarkana

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Appellant

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Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; On Appeal from the 420th
Judicial District Court

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Nacogdoches
County, Texas

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Trial Court No. F13,363-2005

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

Â&nbsp;

Â&nbsp;

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Memorandum Opinion by Chief Justice Morriss








Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; MEMORANDUM OPINION

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Deldrick
Devon Thomas appeals from the adjudication of his guilt, on his pleas of ÂtrueÂ
to six of the eight allegations contained in the StateÂs motion to adjudicate[1]
the offense of promotion of child pornography.Â&nbsp;
See Tex. Penal Code Ann. Â§ 43.26 (Vernon 2003). Â&nbsp;Thomas was sentenced by the trial court to ten
yearsÂ imprisonment in the Texas Department of Criminal JusticeÂInstitutional
Division.[2]Â&nbsp; Thomas was represented by different appointed
counsel at trial and on appeal.[3]

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; ThomasÂ
attorney on appeal has filed a brief which discusses the record and reviews the
proceedings in detail.Â&nbsp; Counsel has thus
provided a professional evaluation of the record demonstrating why, in effect,
there are no arguable grounds to be advanced.Â&nbsp;
This meets the requirements of Anders
v. California, 360 U.S. 738 (1967); Stafford
v. State, 813 S.W.2d 503 (Tex. Crim. App. 1981); and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel Op.]
1978).Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Counsel
mailed a copy of the brief to Thomas November 4, 2010, informing Thomas of his
right to file a pro se response and of his right to review the record.Â&nbsp; Counsel has also filed aÂ&nbsp; motion with this Court seeking to withdraw as
counsel in this appeal.Â&nbsp; Thomas has neither
filed a pro se response, nor has he requested an extension of time in which to
file such a response.Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We have
determined that this appeal is wholly frivolous.Â&nbsp; We have independently reviewed the clerkÂs
record and the reporterÂs record, and we agree that no arguable issues support
an appeal.Â&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 826Â27 (Tex. Crim. App.
2005).Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In a
frivolous appeal situation, we are to determine whether the appeal is without
merit and is frivolous, and if so, the appeal must be dismissed or affirmed. Â&nbsp;See
Anders, 386 U.S. 738.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We affirm
the judgment of the trial court.[4]

Â&nbsp;

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; 

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Josh
R. Morriss, III

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Chief
Justice

Â&nbsp;

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; January
26, 2011

Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; January
27, 2011

Â&nbsp;

Do Not Publish

Â&nbsp;

Â&nbsp;











[1]In
addition, the trial court found one of the two remaining allegations to be
true.Â&nbsp; 

Â&nbsp;





[2]Originally
appealed to the Twelfth Court of Appeals, this case was transferred to this
Court by the Texas Supreme Court pursuant to its docket equalization
efforts.Â&nbsp; See Tex. GovÂt Code Ann.
Â§ 73.001 (Vernon 2005).Â&nbsp; 

Â&nbsp;





[3]Thomas
also appeals, in companion cause numbers 06-10-00135-CR and 06-10-00136-CR,
also decided this date, from the revocation of his community supervision for
theft in each case. Â&nbsp;In each of those
cases, ThomasÂcommunity supervision was revoked, and he was sentenced to
twenty-four months in the State Jail Division of the Texas Department of
Criminal Justice.Â&nbsp; All sentences are to
run concurrently.

Â&nbsp;





[4]Since
we agree this case presents no reversible error, we also, in accordance with Anders, grant counselÂs request to
withdraw from further representation of Thomas in this case.Â&nbsp; No substitute counsel will be appointed.Â&nbsp; Should Thomas wish to seek further review of
this case by the Texas Court of Criminal Appeals, Thomas must either retain an
attorney to file a petition for discretionary review or Thomas must file a pro
se petition for discretionary review.Â&nbsp;
Any petition for discretionary review must be filed within thirty days
from the date of either this opinion or the last timely motion for rehearing
that was overruled by this Court.Â&nbsp; See Tex.
R. App. P. 68.2.Â&nbsp; Any petition for discretionary review must be
filed with this Court, after which it will be forwarded to the Texas Court of
Criminal Appeals along with the rest of the filings in this case.Â&nbsp; See
Tex. R. App. P. 68.3.Â&nbsp; Any
petition for discretionary review should comply with the requirements of Rule
68.4 of the Texas Rules of Appellate Procedure.Â&nbsp;
See Tex. R. App. P.
68.4.

Â&nbsp;







